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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF IOWA

                                           )
UNITED STATES OF AMERICA,                  )   Criminal No. 4:22-cr-199
                                           )
             v.                            )   GOVERNMENT’S RESPONSE
                                           )   TO DEFENDANT WENDT’S
BRADLEY EUGENE WENDT,                      )   NOTICE OF PUBLIC
                                           )   AUTHORITY DEFENSE
             Defendant.                    )
                                           )

      The United States responds to Defendant Bradley Wendt’s notice of public

authority defense:

      1.     On June 15, 2023, Defendant Bradley Wendt filed notice of public

authority defense, pursuant to Fed. R. Crim. P. 12.3. Dkt. 208. Specifically, Wendt

stated he had the authority of the ATF and the City of Adair to engage in the “conduct

alleged in the Indictment.” Id. at 1-2.

      2.     The Indictment alleges 20 counts. It is 27 pages long. It alleges Wendt

lied to the ATF. Wendt does not specify what “conduct” was authorized by the ATF

or the City of Adair.     The government denies that Wendt exercised the public

authority identified in this notice. Fed. R. Crim. P. 12(a)(3).

      3.      The government requests Wendt disclose the name, address, and

telephone number of each witness Wendt intends to rely on to establish a public-

authority defense. Fed. R. Crim. P. 12(a)(4)(A).


                                               Respectfully submitted,

                                               Richard D. Westphal
                                               United States Attorney
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                                            By:    /s/ Mikaela J. Shotwell
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CERTIFICATE OF SERVICE

I hereby certify that on June 21, 2023, I
electronically filed the foregoing with the
Clerk of Court using the CM ECF system. I hereby
certify that a copy of this document was served
on the parties or attorneys of record by:

    U.S. Mail       Fax       Hand Delivery

  X ECF/Electronic filing    Other means

UNITED STATES ATTORNEY

By: /s/ Mikaela Shotwell




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